Case 3:17-cv-00072-NKM-JCH Document 666 Filed 02/24/20 Page 1 of 2 Pageid#: 9047




                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



   ELIZABETH SINES                                     :       Case No. 3:17-cv-00072

                  Plaintiff                            :       Judge MOON
                                                               Mag. Judge Hoppe

                                                       :
          -v-

   JASON KESSLER et al.                                :

                                                       :
                  Defendants

   _______________________________________________________

        RESPONSE IN OPPOSITION TO MOTION FOR DIRECT ACCESS
   _______________________________________________________

          To move this discovery process along, however marginally, Mr. Kessler requests the

   Court not grant the plaintiffs’ motion without the following modifications.

      1. That Mr. Kessler be given 24 hours to review his data and authorize production from

          the time the third-party vendor makes the data available for review;

      2. That any data directly accessed be deemed “highly confidential” pursuant to the

          confidentiality agreement governing this case;

      3. That plaintiffs be prohibited from using any privileged information they directly

          access for any reason without further order of this Court.




                                                  1
Case 3:17-cv-00072-NKM-JCH Document 666 Filed 02/24/20 Page 2 of 2 Pageid#: 9048




          Defendant reserves the right to object to any decision that does not substantially

          include the three requests listed herein.




                                         Respectfully Submitted,



                                         s/ Elmer Woodard_____________
                                         Elmer Woodard (VSB No. 27734)
                                         5661 US Hwy 29
                                         Blairs, VA 24527
                                         Phone: 434-878-3422
                                         Email : isuecrooks@comcast.net
                                         ATTORNEY FOR JASON KESSLER

                                         s/ JAMES E. KOLENICH (PHV)
                                          JAMES E. KOLENICH
                                         KOLENICH LAW OFFICE
                                         9435 Waterstone Blvd. #140
                                         Cincinnati, OH 45249
                                         (513) 444-2150
                                         (513) 297-6065 (Fax)
                                         JEK318@gmail.com
                                         ATTORNEY FOR JASON KESSLER

                                  CERTIFICATE OF SERVICE

           I certify the above was served on February 24, 2020 on all ECF participants and that
   parties requiring service by other means were served as follows:

   Robert Ray
   azzmador@gmail.com
   Vanguard America c/o Dillon Hopper
   dillon_hopper@protonmail.com
   Elliott Kline eli.f.mosley@gmail.com deplorabletruth@gmail.com
   Matthew Heimbach matthew.w.heimbach@gmail.com
   Christopher Cantwell
   christopher.cantwell@gmail.com
   ChristopherCantwellBooking#20-00348
   StraffordCountyDept.ofCorrections
   226CountyFarm Road
   Dover,NH 03820

                                                          s/ James E. Kolenich
                                                          James E. Kolenich
                                                      2
